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Exhibit C

Exhibit C

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` - padnmd)ha'eddy. l@mcom- __
S,xb]ed: _ 'Re:4U_Sanl.\sl-iresinl~l.}-NY
-Attad'\me'nts. _ G\_rls_Saig\t_res\me_SZO‘lZdooc
Paddy,

Amched,youwill lind mymostrecentcopyofmy temme/CV. Atthistime,lmust daoosetoremaiq
intheNJMYregion,withasn'ongp¢zfuenoeifpossibleforNordtmnNJ, asitwas-wherelwas
initiallysetwbeworlmgfr_om`.§prilofthisyca: - , _

’I'hankyout`ormohingout.

Regard_s,
Chxis Slai'ght

' v

`OnFri,Sep 14, 2012at957PM,Padmanabhateddy[<thM_@§L_wg_>wrote
}l_)earAll, . _ _

1 l hope you guys are doing well m lNDlA. We are trying to map your profile for one of the

REDACTED~ c n requirements Cou|d `you please send me your updated CVs ASAP. Please let
me ow if youa_re open to relocate any other US locations other than NYlNJ

RE`D'ACTEe mm RE:DACT`ED `

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t _' _4.»' ?¢\~ai_h_h ~_.\ . ,:' j

|Thanks&Regards

l Padmanabhareddyli'agamreddy l .
l Tata Consultancy Servioes -_
Mailw …<§_m '

W`e_bsite:h h:§g le_u_r..oomtcs

Plalnsffsooomz `. ”

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Exhibit D

Exhibit D

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~ weupda_tedyouwere , _

l’rofessi_onal behavior during meetings with customers
Attendingthe oflice on regular basis and coming office on time
Partic_ipal:ion in project

. Learnlng of new technology

Communication with customers

.-Fonnaldreesirig'lnbfiioe

Undersm_nding compaan culture andaspect for customer

_ 'l'hoi.lgh during last month l see very minor improvements but it has also come up with a new set of challenges in

the lastr_ng_nth you haveapproachedthe customerabotrtgettirigsornework ina matterthatti\e oustomerha`s

- notbeen appreciative of, M;ileyouarelooidngforworkin technologiestl'i_atyouerenotfan'iiliarwith, you have

nocputtheefforttolearn newsetoftechnologiesreiatedto project
Apart fromthe customer unhappine'ss we_ have also been informed byteam members aboutyou being very

b . disruptive atthe work environment while being insensitive and critical of certain cultiires. Our goal is to provide

"l`on¢er be part of.the ‘\‘f

a friendly environment that fosters productivity and customer satlshction. Unfortu_nately your actions are not in `

-linewithwhatw_e strive hardtoachieve.

Basedonthecustomerfeedbackand our ioftheun'rentsituation,wehave decldedthatyouwillno
”`l D‘i`ear‘nand .i_\oconnt.Donotapproadiorlntt-,ractwithtbecustomer`
startingtoday ariddonotatkendanyteammeetings. PleasewaitformoreinfonnationfromDebo]yotiSen,our

HR reprosentativé on the next steps

   

~ Tata Consuitancy Services

l’h:'- 2017435853 . '
Mollho: vlgnesh.ramanari°lm.com
Webslte: htxp:/jwww.tics.corn_

 

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Business Solutions'

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Exhibit E

Exhibit E n

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REDACTED

From: RED/-\CTED 7

Sent: Wednesday, Fobruary 27, 2013 3:27 PM

To: Ramanan, Vlgnsh
Gc: Bhalla, Alok; Musale, Prashant

Subject: Project Stafling
Vignsh,

As discussed, ar this time we do not drinkChris $iaight is the rkht fit for our team. Please release him at your
convenience

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Notioe: Tho information contained in this o»mail
message and/or attachments _to it may contain

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Exhibit F

Exhibit F

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Exhibit G

Exhibit G

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Case 4:15-cv-01696-YGR Document 105-3 Filed 01/31/17 Page 13 of 23

Allbikl.¢

Tl'mnk you'.‘
-.Mgards.`
'Cliris Sla.ight

`----Kw¥=.h william/mw mm ---'--

 

'To: Ambika G/AMER/TCSITCS .

From: Kimth lillia.mS/AMER/TCS

Date: '04/02/2013 05:10?11

cc: Chris Sla.iqht/AHER/TCSQTCS, Debojyoti Sen/KQL/'I_'ESSTCS, liath Shobitha/le/TCS€TCS,
Meliaaa Blandfotd/AMBR/NSETCS, M¢liosa D/AHER/TCSBTCS

Siibject: 'Ro: Pi:ojoct Opportnnit_`ioa and Ohio Relocation '
m . , ~

!fhanks. `Ambik`a.
'~Han:nah, can _yoq please keep us in the loop on this one? Thanhs.

Kimet.h williams

wager, Colleg¢`Relationa
i‘at_a Consultai'iey _Services Limit.ed
379 Thornal.l Street - 4th Floor
Ed.ison - ',08837 blow Jersey
Unit.ed States

.Ph:- 132-491-0143-

C¢ll:- 732-331~5635

Fax‘:- 732-603-2409 .

wilcox kim;h.williams€tcs;cbm
labsit¢: htt:p://ww.t.cs.com

 

Experience certainty. ~ v IT Services

 

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Fi:aa_: Ambik.a .G/AMER/T¢S '
To: ` Chris SIa.ight/AHBR/TCSETCS
Cc: b_ebojyoti. S¢xi/KGL/TCSB!‘CS, Kimeth Willims/m/TCS€TCS, Helisaa `
Blandford/AMBR/TCS€TCS, M¢lissa D/AMERINS€TCS, annum Shobitha/C.BN/TCS€TCS
‘ nate: ~ . 04/02/2013 05: 05 PM '
~ S\ibject: Re: Project opportunities and ohio Relocation

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Case 4:15-cv-01696-YGR Document 105-3 Filed 01/31/17 Page 14 of 23

 

Chris
I have forwarded your cv to the concerned mG person there and asked her to chee)i for some

needs at werd. .

Th`anksakegarda

Am_blka G

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.Work: +732 491 0112 . '
'_ -Coll': +1 513 739 7955

.-Tata Conaultancy Servi.oos

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Date: ' . 04/02/2013 052 01 PM
Subject: . Projact Opportunities and Ohio Relocat.ion
_ Kimeth,~ l
-I an` currently experiencing difficulties with obtaining a sitioii in the Neu !otk/Now
Jersey area, as I have recently been released from my th count. I an aware that lt

may be possible for a relocation to Mil£ord, Ohio to work out of the G_loba.l .__Dellvary
_Cent.er, to which~ l am certainly interested in a_t- this time. Pleaaa lot ne know lt this la
'soziething that ve ’~'can discuss over the phone or ln psroon, as ;['d like to get back to being
a productive asset for the TCS .team as quickly as possible. .

Addltiona_lly, I have also included willson Bland_tord as well as gallon Dig:l.rolmo o`n this
emil, since I had spoken to them while on ny ILP last comer about this possibility as
well, and would like to know i_£ they could help aa` well.

o

'Thank you.

Rogardis,
. Chr_iatophai: slanth

Tat.a Consultanoy services .
' Mailto: chris .alaight%tca. com
_ Website: http://wv.tcs.eom

 

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Exhibit H

Exhibit H

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l shall check ifthere are any open needsln Nonh Carolins. -

Thanks&Regards
Amblka G '_
RMG Lead |nsurance & l-leefth Care ,BPG,ASU

.W_ork: +732 491 0112

~ Céll: +1 513 739 79§_5

‘ Tata Consullanq Serviees

379 Thoma|l Street, 4thFloor Edlson, New.lersey, united Scata
Mallw: amhlka.¢@ts.oom _
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From: Ch¢"s SleiglMER/TCS

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Chrislopher Slaighl _
Tata Consullar`icy Servioss
Malllo: clu'|s.slalghl@lcs.ccm
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01

_Sub]ecl:_ Re: onject Oppomml!ies and Ohlo Relocatlon
Thanks, Arnblka.
Hannah. can you pl_ease keep us in the loop on this one?` Thanks.

Kimeth Williams
Manager College Relalions
.Tata 06nsl.i|lancy Serwees Lide
379 Thomall Street- 4th Floor
Edison - 08837,New Jersey

` Unlted Slates ' »
Ph:- 732-491-9143
Ce!:- 732-331~5635
Fax:- 732-603-24%

. Mallto: kimelh. williams@lcs. com

Webde- wm

Experience certainty lT Services
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Md!to: anba<a.g@tcs.oom .
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Exhibit |

Exhibit |

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